                              UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION

TJF Services Inc., et al                        )
                                                )
                     Plaintiff,                 )
vs.                                             )
                                                                   5:17-CV-626-RN
Transportation Media, Inc.                      )
                     Defendants.                )



 Decision by Court.

 This action came before the Honorable Robert T. Numbers, II, United States Magistrate Judge, for
 ruling as follows:

 IT IS ORDERED, ADJUDGED AND DECREED pursuant to the court’s order dated
 7/8/2019 the court grants in part and denies in part Bench Craft's Motion for Summary Judgment.
 Bench Craft’s motion is granted with respect to Plaintiffs’ claim for punitive damages; all claims
 of Plaintiff Chappell Creative, Inc.; and Plaintiffs’ UDTPA claims related to their allegations of
 Bench Craft’s over-charging credit cards and failing to deliver purchased advertisements. Bench
 Craft’s motion is denied with respect to UDTPA claims related to misrepresenting to Plaintiffs
 TJF Services, Inc., Rusty Allen Insurance, LLC, and Chris Herrmann the number of golfers who
 could see their advertisements in Bench Craft’s course guides.

 This Judgment Filed and Entered on August 3, 2020, and Copies To:


 Aaron Hemmings (via CM/ECF Notice of Electronic Filing)
 Kelly Ann Stevens (via CM/ECF Notice of Electronic Filing)
 Randal Acker (via CM/ECF Notice of Electronic Filing)
 Jonathan Anderson (via CM/ECF Notice of Electronic Filing)


 DATE                                         Peter A. Moore, Jr., CLERK OF COURT
 August 3, 2020                                      /s/ Samantha T. Stone
                                              (By) Samantha T. Stone, Deputy Clerk




           Case 5:17-cv-00626-RN Document 110 Filed 08/03/20 Page 1 of 1
